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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                         )
                                                    )
          Plaintiff,                                )
                                                    )
          v.                                        )       CAUSE NO.       1:19-cr-00229-RLY-DML
                                                    )
                                                    )
  MAHDE DANNON, and                                 )       -01
  MOYAD DANNON,                                     )       -02
                                                    )
          Defendants.                               )

                                                ORDER

         This matter comes before the Court on the motion of the United States to declare the case

  complex and continue the trial date set for September 16, 2019.

         The Court, having reviewed the motion and finding good cause shown, hereby ORDERS

  that the trial date set for September 16, 2019, is VACATED and the matter is rescheduled for

  jury trial to commence on MARCH 23, 2020 at 9:00 a.m. in Room 349.

         The delay attributable to the changed trial date shall be excludable from the computations

  of time pursuant to the provisions of the Speedy Trial Act, 18 U.S.C. § 3161(h)(7).       The Court

  FINDS that the interests of justice as stated in the government’s motion are best served by the

  delay so that both the accused and the United States can receive a fair trial, and those interests

  outweigh the interests of the public and the defendants in a speedy trial in this case.

         The Court FINDS that the complexity of the case makes it unreasonable to expect adequate

  preparation for pretrial proceedings or for trial itself by a September 16, 2019 trial date, because,

  among other reasons stated in the motion:




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         (a)     The Indictment in this matter, as more broadly outlined by the criminal complaint

  (Dkt. 2), alleges a lengthy, multi-defendant conspiracy to illegally procure, manufacture, and

  transfer firearms to prohibited persons, and an attempt to provide material support to a foreign

  terrorist organization, namely ISIS;

         (b)     The anticipated evidence at trial is varied and extensive, including electronic

  communications among alleged co-conspirators and government witnesses, and approximately

  150 hours of audio and video recordings that may require pixilation, modulation, and or translation

  from Arabic, prior to release to defense counsel;

         (c)     The discovery also includes responses to over 50 subpoenas, and forensic analysis

  of multiple electronic devices seized pursuant to search warrants; and

         (d)     Presently, the case presents potential novel issues of law and fact, including issues

  relating to classified information and issues implicating the Classified Information Procedures

  Act ("CIPA"), codified at 18 U.S.C. App. III, which will require substantial time to resolve.

         Additionally, even if the case were not so unusual or complex to fall within 18 U.S.C.

  § 3161(h)(7)(B)(ii), the Court FINDS that the failure to grant a continuance in this case would

  deny counsel for the defendants and counsel for the government the necessary for effective

  preparation taking into account the exercise of due diligence.    See 18 U.S.C. § 3161(h)(7)(B)(iv).

         Moreover, if the Court grants the proposed discovery schedule, taking into account due

  diligence, counsel for the defendants and the defendants need additional time to effectively review

  discovery materials, prepare for trial, and file any pretrial motions.

  SO ORDERED this 9th day of August 2019.




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